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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION



EMPIRE CORVETTE OF AMERICA, INC.,                   CASE NUMBER: 6:18-cv-26-Orl-22DCI

              Plaintiff,
vs.


JUST TOYS CLASSIC CARS, LLC,

            Defendant.
_____________________________________/


                           NOTICE OF SCHEDULING MEDIATION

       COMES NOW the Plaintiff, EMPIRE CORVETTE OF AMERICA, INC., by and

through its undersigned counsel, and gives Notice to the Court that a mediation conference has

been coordinated between the parties and is currently scheduled to take place on July 12, 2018

commencing at 1:00 p.m. The Mediator will be Richard Joyce, Esquire and the proceeding will

take place at the Law Offices of David S. Cohen, LC, 5728 Major Boulevard, Suite 550, Orlando,

FL 32819.
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                               CERTIFICATE OF SERVICE



        I HEREBY CERTIFY that on this 11th day of May, 2018, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will provide a copy
electronically to Michael Kest, Esquire, Michael Kest, Esquire, 1150 Louisiana Avenue, Suite 4,
Winter Park, FL 32789.

LAW OFFICES OF DAVID S. COHEN, LC

_s/ David S. Cohen____________________
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